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 6   Attorney for Defendant
     DANIEL COVARRUBIAS
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 13-CR- 00117-GEB
                                                    )
12                                                  )       STIPULATION AND
            Plaintiff,                              )       [PROPOSED] ORDER CONTINUING
13                                                  )       SENTENCING HEARING
     v.                                             )
14                                                  )
     DANIEL COVARRUBIAS,.                           )       Date: May 1, 2015
15                                                  )       Time: 9:00am.
                                                    )       Judge: Honorable Garland E. Burrell, Jr
16
            Defendants.                             )
                                                    )
17                                                  )
                                                    )
18

19          IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Olusere Olowoyeye, Assistant United States Attorney, attorney for plaintiff, together

21   with Kyle Knapp, attorney for defendant Daniel Covarrubias, that the previously-scheduled

22   sentencing hearing, currently set for April 24, 2015, be vacated and that the matter be set for

23   judgment and sentencing on May 1, 2015 at 9:00 a.m.

24          Counsel have conferred and this continuance is requested to allow defense counsel

25   additional time to present mitigation evidence in this matter, confer with the Assistant United

26   States Attorney and gather further information that potentially could reflect on Mr. Covarrubias’

27   exposure in this matter. To that end, it is respectfully requested that the respective sentencing

28   memorandum by both counsel be submitted to the court no later than April 24, 2015.



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 1   IT IS SO STIPULATED.
 2
     Dated: April 21, 2015                                 BENJAMIN B. WAGNER
 3                                                    UNITED STATES ATTORNEY

 4                                              by:   /s/ Olusere Olowoyeye
                                                      OLUSERE OLOWOYEYE
 5
                                                      Assistant U.S. Attorney
 6                                                    Attorney for Plaintiff

 7   Dated: April 21, 2015                            /s/ Kyle Knapp
 8
                                                      KYLE KNAPP
                                                      Attorney for Defendant
 9                                                    DANIEL COVARRUBIAS
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                                         [PROPOSED] ORDER
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            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. This matter shall be dropped from this court’s April 24, 2015 criminal calendar
 3
     and re-calendared for sentencing on May 1, 2015. Counsel’s Sentencing Memorandums to be
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     submitted no later than April 24, 2015.
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 6          IT IS SO ORDERED.

 7   Dated: April 21, 2015
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